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 7
                                   UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
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10   TIMOTHY GOODIN-CORRICK,                           Case No.: 2:21-CV-08926-JFW-KSx
11
                   Plaintiff,
                                                       ORDER TO REMAND MATTER TO
12                                                     ORANGE COUNTY SUPERIOR COURT
            vs.
13
                                                        Judge: Hon. John F. Walker
     FCA US LLC; and DOES 1 through 10,
14   inclusive,
15                 Defendants.
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            HAVING CONSIDERED THE PARTIES’ JOINT STIPULATION TO REMAND
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     MATTER TO LOS ANGELES COUNTY SUPERIOR COURT, the Court finds good cause and
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     hereby ORDERS:
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            This entire matter is hereby remanded to the Superior Court of the State of California,
21
     for the County of Los Angeles.
22
            IT IS SO ORDERED.
23

24
                                                         _______________________________________
      DATED: December 3, 2021
25                                                       HONORABLE JOHN F. WALKER
26
                                                         UNITED STATES DISTRICT COURT JUDGE

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